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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA
                                            Case No. 20 CR 299
              v.
                                            Judge Robert M. Dow, Jr.
HARDY LEE BROWNER

                                 NOTICE OF MOTION

      PLEASE TAKE NOTICE that on Friday, August 14, 2020 at 9:30 a.m., or as

soon thereafter as counsel may be heard, I will appear before the Honorable Robert

M. Dow, Jr. in the courtroom usually occupied by him in the United States

Courthouse, 219 South Dearborn Street, Chicago, Illinois 60604, or before such other

judge who may be sitting in his place and stead, and then and there present the

Government’s Motion for Pretrial Conference Pursuant to the Classified

Information Procedures Act, the Government’s Unopposed Motion for

Protective Order Pursuant to Section 3 of the Classified Information

Procedures Act, and the Agreed Motion to Designate a Classified

Information Security Officer in the above-captioned case, at which time and place

you may appear if you see fit.

                                              Respectfully submitted,

                                              JOHN R. LAUSCH, JR.
                                              United States Attorney

                                      By:     /s/ Barry Jonas
                                              BARRY JONAS
                                              JORDAN MATTHEWS
                                              Assistant United States Attorneys
                                              219 South Dearborn, Fifth Floor
                                              Chicago, Illinois 60604
Dated: July 13, 2020                          (312) 353-5300
